            Case 2:20-cv-00306-MKD                    ECF No. 28         filed 10/08/21     PageID.680 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                              FILED IN THE
                                                                                                               U.S. DISTRICT COURT
                                                                                                         EASTERN DISTRICT OF WASHINGTON
                                                                   for the_
                                                      Eastern District of Washington
                                                                                                          Oct 08, 2021
                         ANGELIA B.,
                                                                                                              SEAN F. MCAVOY, CLERK

                                                                     )
                             Plaintiff                               )
                                v.                                   )        Civil Action No. 2:20-cv-00306-MKD
            KILOLO KIJAKAZI,                                         )
 ACTING COMMISSIONER OF SOCIAL SECURITY,                             )


                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Plaintiff’s Motion for Summary Judgment, ECF No. 24, is GRANTED.
’
              Defendant’s Motion for Summary Judgment, ECF No. 25, is DENIED.
              JUDGMENT is in favor of the Plaintiff, REVERSING and REMANDING the matter to the Commissioner of Social
              Security for further proceedings.


This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge                               Mary K. Dimke                                 on cross-motions for summary judgment.




Date: 10/8/2021                                                             CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Courtney Piazza
                                                                                          (By) Deputy Clerk

                                                                             Courtney Piazza
